       Case 2:16-cr-00010-TLN Document 35 Filed 05/23/16 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Tel: 916-498-5700/Fax: 916-498-5710
5    Attorney for Defendant
     DENNA CHAMBERS
6
7
8                                IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,    )                Case No. 2:16-cr-010 MCE
11                                )
              Plaintiff,          )                STIPULATION AND ORDER TO
12                                )                CONTINUE STATUS CONFERENCE, AND TO
     vs.                          )                EXCLUDE TIME UNDER THE SPEEDY TRIAL
13                                )                ACT
     DENNA CHAMBERS and STARSHEKA )
14   MIXON,                       )                Date: June 2, 2016
                                  )                Time: 10:00 a.m.
15            Defendants.         )                Judge: Hon. Morrison C. England, Jr.
                                  )
16
            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, Acting U.S. Attorney,
17
     through Shelley Weger, Assistant United States Attorney, attorney for Plaintiff, Heather
18
     Williams, Federal Defender, through Assistant Federal Defender Matthew C. Bockmon, attorney
19
     for Denna Chambers, and Candace Fry, attorney for Starsheka Mixon, that the status conference
20
     scheduled for June 2, 2016 be vacated and continued to July 7, 2016 at 10:00 a.m.
21
            The Government has produced over 25,000 pages of documents and made electronic
22
     devices and other physical evidence available for review. Defense counsel for both
23
     Ms. Chambers and Ms. Mixon require additional time to review the discovery, to conduct
24
     additional investigation and legal research, and to confer with their respective clients about how
25
     to proceed in this case.
26
            Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
27
     excluded as of May 18, 2016, the date of the parties’ stipulation, through and including July 7,
28

      Stipulation to Continue                        -1-
       Case 2:16-cr-00010-TLN Document 35 Filed 05/23/16 Page 2 of 3


1    2016; pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time for defense counsel to
2    prepare] and General Order 479, Local Code T4 based upon defense counsel’s preparation.
3
     DATED: May 18, 2016                        Respectfully submitted,
4
                                                HEATHER E. WILLIAMS
5                                               Federal Defender
6
                                                /s/ Matthew C. Bockmon
7                                               MATTHEW C. BOCKMON
                                                Assistant Federal Defender
8                                               Attorney for DENNA CHAMBERS
9    DATED: May 18, 2016                        /s/ Candace Fry
10                                              CANDACE FRY
                                                Attorney for STARSHEKA MIXON
11
     DATED: May 18, 2016                        PHILLIP A. TALBERT
12                                              Acting United States Attorney
13
                                                /s/ Shelley Weger
14                                              SHELLEY WEGER
                                                Assistant U.S. Attorney
15                                              Attorney for Plaintiff
16
17
18
19
20
21
22
23
24
25
26
27
28

      Stipulation to Continue                      -2-
       Case 2:16-cr-00010-TLN Document 35 Filed 05/23/16 Page 3 of 3


1                                                 ORDER
2           The Court, having received, read, and considered the parties’ stipulation, and good cause
3    appearing therefrom, hereby adopts the parties’ stipulation in its entirety as its order. The Court
4    specifically finds the failure to grant a continuance in this case would deny defense counsel
5    reasonable time necessary for effective preparation, taking into account the exercise of due
6    diligence. The Court finds the ends of justice are served by granting the requested continuance
7    and outweigh the best interests of the public and the defendants in a speedy trial.
8           The Court orders the time from May18, 2016, the date of the parties stipulation, up to and
9    including July 7, 2016, shall be excluded from computation of time within which the trial of this
10   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A)
11   and(B)(iv) [reasonable time for defense counsel to prepare] and General Order 479, (Local Code
12   T4) [defense counsel’s preparation]. It is further ordered the June 2, 2016 status conference shall
13   be continued until July 7, 2016, at 10:00 a.m.
14          IT IS SO ORDERED.
15   Dated: May 19, 2016
16
17
18
19
20
21
22
23
24
25
26
27
28

      Stipulation to Continue                         -3-
